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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - x
                                    :
UNITED STATES OF AMERICA            :
                                    :             ORDER
          - v. -                    :
                                    :             20 Cr. 32 (LGS)
JUAN PABLO DUARTE,             :
                                    :
                 Defendant.         :
                                    :
- - - - - - - - - - - - - - - - - - x

       WHEREAS, defendant JUAN PABLO DUARTE requests to scheduled to

enter a guilty plea before Magistrate Judge;

       WHEREAS the ongoing COVID-19 pandemic necessitates that the

proceeding take place remotely;

       WHEREAS the Court understands that the Magistrate Judge on

duty    shall   hear   the   defendant’s   plea   by   telephone    because

videoconferencing is not reasonably available;

       WHEREAS the CARES Act and findings made by the Judicial

Conference of the United States and Chief Judge Colleen McMahon of

the Southern District of New York allow for guilty pleas to be

taken by phone or video, subject to certain findings made by the

District Judge;
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      THE   COURT   HEREBY   FINDS,   that    because   the   defendant    has

consented to proceeding remotely, and for the reasons set forth in

the defendant’s application dated October 7, 2020, the plea cannot

be   further   delayed   without    serious   harm to the      interests   of

justice.

      SO ORDERED.

Dated:    New York, New York
          October __,
                  16 2020

                                    __________________________________
                                    THE HONORABLE LORNA G. SCHOFIELD
                                    UNITED STATES DISTRICT JUDGE
                                    SOUTHERN DISTRICT OF NEW YORK




                                      2
